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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                          February 19, 2025
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


In re:                                                                Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                    Case No. 24-90533 (ARP)


                                        Debtors.                      (Jointly Administered)


                   SUPPLEMENTAL STIPULATION AND AGREED ORDER
                   REGARDING THE SHANNON PLAINTIFFS’ OBJECTION

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

William Balliet, Administrator of the Estate of Mary Ellen Balliet (“Balliet,” and together with the

Debtors, the “Parties”) hereby enter into this stipulation and agreed order (this “Stipulation and

Agreed Order”) as follows:

         WHEREAS, on June 11, 2024, Balliet brought suit against certain of the Debtors and other

defendants (together with the Debtors, collectively, the “Defendants”) in Balliet v. Luzerne County

et al., Case No. 3:22-cv-02032 in the U.S. District Court for the Middle District of Pennsylvania

(the “Balliet Lawsuit”);

         WHEREAS, in the Balliet Lawsuit, Balliet asserts certain claims and causes of action

against the Defendants related to the alleged inadequate medical care Mary Ellen Balliet received

while in custody at Luzerne County Correctional Facility;

         WHEREAS, the Debtors dispute any and all liability with regard to all of the claims or

causes of action asserted by Balliet;



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     A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
     chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.



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       WHEREAS, on November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on November 12, 2024, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 17] (the “Stay Extension Motion”) seeking

extension of the automatic stay imposed by section 362(a) of the Bankruptcy Code to Non-Debtor

Defendants (as defined in the Stay Extension Motion), and the Court entered the Amended Interim

Order Enforcing the Automatic Stay [Docket No. 69] (the “Stay Extension Order”) staying all

Lawsuits (as defined in the Stay Extension Motion) in their entirety, including claims against the

Non-Debtor Defendants, on an interim basis;

       WHEREAS, on December 2, 2024, various plaintiffs, including Balliet, represented by

Shannon & Lee LLP filed the Response of Certain Claimants to Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 245] (the “Stay Extension Objection”)

objecting to the relief sought in the Stay Extension Motion;

       WHEREAS, on January 14, 2025, the Court entered the Stipulated and Agreed Amended

Order (I) Enforcing the Automatic Stay on a Final Basis with Respect to Certain Actions,

(II) Enforcing the Automatic Stay on an Interim Basis with Respect to Certain Actions,

(III) Extending the Automatic Stay on an Interim Basis to Certain Actions Against Non-Debtors,

(IV) Setting a Final Hearing for the Interim Relief Granted Herein, and (V) Granting Related

Relief [Docket No. 962] (the “Second Stay Extension Order”);




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       WHEREAS, on February 3, 2025, the Court entered the Stipulation and Agreed Order

Regarding the Shannon Plaintiffs’ Objection [Docket No. 1227] (the “Shannon Stipulation”)

partially modifying the automatic stay imposed by section 362(a) of the Bankruptcy Code and

extended to Non-Debtor Defendants in the Balliet Lawsuit pursuant to the Second Stay Extension

Order as to Luzerne County, Chris Gale, T.J. Brown, William Wilk, LPN Biane Emmett, C.O.

Robert Calvey, and LT. Kate Romiski in the Balliet Lawsuit;

       WHEREAS, this Stipulation and Agreed Order is a supplement to and correction of the

Shannon Stipulation.

       NOW, THEREFORE, IT IS STIPULATED AND AGREED:

       1.      The Parties agree that the automatic stay imposed by section 362(a) of the

Bankruptcy Code and extended to Non-Debtor Defendants in the Balliet Lawsuit pursuant to the

Second Stay Extension Order does not extend to claims or causes of action against Luzerne

County, T.J. Brown, William Wilk, LPN Diane Emmett, C.O. Robert Calvey, LT. Kate Romiski,

Shana Feichter, Chris Gale, Cheri Steever, Carleen Kendig, and Donald Fuller in the Balliet

Lawsuit.

       2.      Except as set forth herein, the Second Stay Extension Order otherwise remains a

fully enforceable order and the automatic stay’s application to the Debtor and all other Non-Debtor

Defendants (as defined in the Stay Extension Order) in the Balliet Lawsuit shall remain in full

force and effect, including with respect to Wellpath, LLC, Holly Green, Nelzon Iannuzzi, Jade

Talarico, and Nancy Somers.




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       3.     This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: __________, 2025
Signed:
Houston,February
         Texas 19, 2025

                                                    _____________________________
                                            UNITED STATES
                                                    Alfredo BANKRUPTCY
                                                            R Pérez      JUDGE
                                                        United States Bankruptcy Judge




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STIPULATED AND AGREED TO THIS 14TH DAY OF FEBRUARY, 2025:

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 -and-

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 Counsel to the Debtors and Debtors in Possession




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By: /s/ Chad J. Sweigart

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